


  ATTORNEY DISCIPLINARY PROCEEDINGS
 

  PER CURIAM.
 

  The Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations of professional misconduct by respondent, including violations of Rules 8.4(a), 8.4(b), and 8.4(c) of the Rules of Professional Conduct stemming from his criminal conviction of two counts of health care fraud and two counts of paying illegal
   
   *747
   
  remuneration to Medicare beneficiaries. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline. The parties stipulate to respondent’s misconduct, and seek his permanent disbarment from the practice of law.
 

  Based on our review of the petition, we agree that permanent disbarment is the appropriate sanction under Guideline 6 (insurance fraud) of the permanent disbarment guidelines set forth in Supreme Court Rule XIX, Appendix E. Accordingly, having reviewed the petition,
 

  IT IS ORDERED that the Petition for Consent Discipline be accepted. The name of Alton Bates, Louisiana Bar Roll number 17913, shall be stricken from the roll of attorneys and his license to practice law in the State of Louisiana shall be revoked. Pursuant to Supreme Court Rule XIX, § 24(A), it is further ordered that respondent be permanently prohibited from being readmitted to the practice of law in this state.
 

  IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
 
